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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA


  IN RE GEISINGER SYSTEM
  SERVICES AND EVANGELICAL                    No.: 4:21–cv–00196 (MWB)
  COMMUNITY HOSPITAL
  HEALTHCARE WORKERS                          Chief Judge Matthew W. Brann
  ANTITRUST LITIGATION


                                       ORDER

      AND NOW, this 28th day of February 2025, upon consideration of the Joint

Case Status Report (Doc. 231), and subject to the conditions the Parties agreed to

in their Joint Case Status Report referenced herein, IT IS HEREBY ORDERED

that the Parties shall complete all outstanding expert disclosures and expert

discovery according to the following deadlines.

      1.     No later than seven (7) days from the filing of this Joint Case Status

Report, Plaintiffs shall supplement Dr. Johnson’s expert report, served on January

17, 2025, to (i) identify the prior representations in which he served as a testifying

expert in the past four (4) years, and (ii) disclose all publications during the 10-

year period required under Fed. R. Civ. P. 26.

      2.     No later than thirty (30) days from the filing of this Joint Case

Status Report, Plaintiffs shall produce Dr. Johnson for deposition by Defendants in

Washington, D.C., at an agreed-upon date and time.
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      3.     Within thirty (30) days following Dr. Johnson’s deposition,

Defendants shall indicate to Plaintiffs whether they intend to: (i) supplement their

opposition to Plaintiffs’ motion for class certification; (ii) supplement their motion

to exclude Dr. Manning; (iii) pursue any additional discovery from Dr. Johnson,

including the communications between Drs. Johnson and Leamer; and/or (iv) file a

new motion to exclude the testimony of Dr. Johnson.

      4.     Within seven (7) days of Defendants’ disclosures under Paragraph

3 of this Order, the Parties shall file with the Court an updated status report

regarding the status of expert discovery and submit a proposed schedule to

complete any briefing on the class certification and Daubert motions and present

any discovery issue for resolution by the Court. The Parties shall endeavor to reach

agreement on that scheduling. If there is no supplemental briefing, within seven

(7) days of Defendants’ notice, the Parties shall request that the Court reschedule

the hearing on the pending motions.



                                              BY THE COURT:



                                               s/ Matthew W. Brann
                                              ________________________
                                              MATTHEW W. BRANN
                                              Chief United States District Judge




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